Case 2:19-cr-20026-GAD-EAS ECF No. 62 filed 04/08/19          PageID.132    Page 1 of 5




                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

UNITED STATES OF AMERICA,
                                                CRIM. NO. 2:19-cr-20026
                 Plaintiff,
                                                HON. GERSHWIN A. DRAIN
v.

D-1   BHARATH KAKIREDDY
D-2   SURESH REDDY KANDALA,
D-3   PHANIDEEP KARNATI,
D-4   PREM KUMAR RAMPEESA,
D-5   SANTOSH REDDY SAMA,
D-6   AVINASH THAKKALLAPALLY.

             Defendants.
__________________________________/

                     STIPULATION FOR
 CONTINUANCE OF FINAL PRE-TRIAL CONFERENCE, PLEA DATE AND
       TRIAL DATE AND FINDING OF EXCLUDABLE DELAY

      The parties, by their undersigned attorneys, stipulate to the following

matters: (1) the adjournment of the motion cutoff, final pre-trial conference, and

plea cut-off date; (2) the adjournment of the trial date in this matter from trial date

May 14, 2019 to the new trial date of July 23, 2019 at 9:00 a.m.; and (3) a finding

of excludable delay from May 14, 2019 to July 23, 2019 for the following reasons:

(a) to permit the parties additional to negotiate a possible plea agreement; and (b)

the parties require additional time to prepare for trial.

      The dates are as follows:
Case 2:19-cr-20026-GAD-EAS ECF No. 62 filed 04/08/19            PageID.133   Page 2 of 5




 Motion cut-off date:                           May 3, 2019

 Plea Cut-off date:                             June 26, 2019 at 2:00 p.m.

 Final Pretrial Conference                      July 16, 2019 at 3:00 pm.

 Jury Trial Date:                               July 23, 2019 at 9:00 a.m



       The parties agree and stipulate that the additional time is necessary: (a) to

permit the parties additional to negotiate a possible plea agreement; and (b) the

parties require additional time to prepare for trial.

       The parties stipulate that the extended time period, that is from May 14,

2019 to July 23, 2019, shall constitute excludable delay under the provisions of the

Speedy Trial Act, 18 U.S.C. ' 3161(h)(7)(B), in that the parties require additional

time to negotiate a possible plea agreement and to adequately prepare for trial.

      Pursuant to 18 U.S.C. ' 3161(h)(7)(A), the parties agree that the ends of

justice served by this delay outweigh the best interest of the public and the

defendants in a speedy trial.



Dated: April 3, 2019




                                            2
Case 2:19-cr-20026-GAD-EAS ECF No. 62 filed 04/08/19      PageID.134    Page 3 of 5




IT IS SO STIPULATED:

By: /s/Timothy McDonald w/ Consent
Timothy McDonald
Assistant United States Attorney
211 W. Fort Street, Suite 2001
Detroit, MI 48226
(313) 226 9100
Dated: April 3, 2019


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Dated: April 3, 2019                   Dated: April 3, 2019

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Dated: April 3, 2019                        Dated: April 3, 2019

Sanford A. Schulman                         Bajoka Law Group, PLLC
By: /s/Sanford A. Schulman w/ Consent       By: /s/ Edward A. Bajoka_______________
Sanford A. Schulman                         Edward Bajoka (P70919)
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Dated: April 3, 2019                        Dated: April 3, 2019


                                        3
Case 2:19-cr-20026-GAD-EAS ECF No. 62 filed 04/08/19          PageID.135   Page 4 of 5




                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

UNITED STATES OF AMERICA,
                                             CRIM. NO. 2:19-cr-20026
                Plaintiff,
                                             HON. GERSHWIN A. DRAIN
v.

D-1   BHARATH KAKIREDDY
D-2   SURESH REDDY KANDALA,
D-3   PHANIDEEP KARNATI,
D-4   PREM KUMAR RAMPEESA,
D-5   SANTOSH REDDY SAMA,
D-6   AVINASH THAKKALLAPALLY.

             Defendants.
__________________________________/


                       ORDER FOR
CONTINUANCE OF FINAL PRE-TRIAL CONFERENCE, PLEA AND TRIAL
        DATES AND FINDING OF EXCLUDABLE DELAY


      Upon this Court's consideration of the parties' stipulation and the Court

being apprised of the circumstances,

      IT IS ORDERED that the final pre-trial conference and the plea date in this

matter shall be adjourned until July 16, 2019 at 3:00 p.m..

      IT IS ORDERED that the trial date in this matter shall be adjourned until

July 23, 2019 at 9:00 a.m.

      IT IS FURTHER ORDERED that the time period from May 15, 2019 to

July 23, 2019, shall constitute excludable delay under the provisions of the Speedy

Trial Act, 18 U.S.C. '' 3161(h)(7)(B)(i),(ii) and (iv). The exclusion of the delay
Case 2:19-cr-20026-GAD-EAS ECF No. 62 filed 04/08/19          PageID.136     Page 5 of 5




from the computation of the time within which the trial must commence under the

Speedy Trial Act is made pursuant to 18 U.S.C. ' 3161(h)(7)(A) and ''

3161(h)(7)(B)(i), (ii) and (iv), in that the ends of justice served by this delay

outweigh the best interest of the public and the defendant in a speedy trial because

the failure to grant a continuance would result in a miscarriage of justice and the

government requires additional time to compile the prescription data to be used at

trial; and all parties, in this complex narcotics case, require additional time to

negotiate a plea agreement or prepare for trial, and such need is reasonable.



Dated:       April 8, 2019
                                               s/Gershwin A. Drain
                                               HON. GERSHWIN A. DRAIN
                                               United States District Court Judge




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